




Dismissed and Memorandum Opinion filed December 13, 2007








Dismissed
and Memorandum Opinion filed December 13, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00989-CR

____________

&nbsp;

ANTHONY PATRICK BENESTANTE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
176th District Court

Harris County, Texas

Trial Court Cause No. 1120444

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N








Appellant
entered a guilty plea to the offense of robbery.&nbsp; In accordance with the terms
of a plea bargain agreement with the State, the trial court sentenced appellant
on October 19, 2007, to confinement for four years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se
notice of appeal.&nbsp; The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
December 13, 2007.

Panel consists of Justices Yates, Fowler, and Guzman. 

Do Not Publish C Tex. R. App. P.
47.2(b)





